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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

  UNITED STATES OF AMERICA                       )
                                                 )
         v.                                      )
                                                 ) CAUSE NO.: 2:05 CR 143
  RUDOLFO HEREDIA                                )

   DEFENDANT, RUDOLFO HEREDIA’S RESPONSE IN OPPOSITION TO THE
        UNITED STATES’ 404(B) NOTICE OF BAD ACTS EVIDENCE

         Comes now the Defendant, Rudolfo Heredia, by and through counsel, Arlington J.

  Foley and files his response to the United States’ motion to introduce evidence under

  Fed. R. Evid. 404(b) and states as follows:

         The Federal Rule of Evidence 404(b) states in part that,

                     ♣ “Evidence of other crimes, wrongs or acts is not admissible to

                         prove the character of a person in order to show action in

                         conformity therewith. It may… be admissible…as proof of

                         motive, opportunity, intent, preparation, plan knowledge, identity

                         or absence of mistake or accident…” Fed. R. Evid. 404(b).

                         (emphasis added).

         In order to determine if evidence can be admitted under Fed. R. Evid. 404(b), the

  court notes whether “(1) the evidence is directed toward establishing a matter in issue

  other than the defendant’s propensity to commit the crime charged; (2) the evidence

  shows that the other act is similar enough and close in time to be relevant to the matter in

  issue; (3) there is sufficient evidence to support a finding by the jury that the [defendant]

  committed a similar act; (4) the probative value of the evidence is not outweighed by the

  danger of unfair prejudice.” U.S. v. Hall, 93 F.3d 1337, 1346 (7th Cir. 1996).
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         The government intends to introduce events allegedly involving Heredia to show

  S.A.’s state of mind. However, the government merely wants to introduce these acts

  under the guise of demonstrating S.A’s state of mind when in reality these alleged acts

  violate the first prong in the 404(b) analysis.

         Under the first prong of 404(b), the evidence to be introduced needs to establish

  an issue “other than the defendant’s propensity to commit the crime charged”. Id.

  However, the events provided by the government in their 404(b) Notice of Bad Act

  Evidence including; Heredia allegedly telling S.A. about shooting someone in retaliation,

  Heredia hitting his dad, hitting someone with a hammer, merely depict incidents, if true,

  that fail the first prong of 404(b) because collectively the incidents demonstrate

  defendant’s propensity to commit acts of anger and/or retaliation.

         Even if this court determines that the alleged acts of Heredia, offered by the

  government in their 404(b) Notice of Bad Act Evidence passes muster under the first

  prong analysis, those alleged incidents would still fail under the second prong or

  demonstration of other acts that are similar or close in time to the one charged. The other

  items proffered by the government merely depict more alleged acts of aggression and

  range the spread through the time frame of the relationship between S.A. and Heredia, of

  at least nine years, thus violating the second prong of 404(b) analysis.

          Heredia is charged with a violation of Interstate Stalking. Interstate Stalking

  requires the government to prove four elements including:

                     •   1. That the defendant traveled in interstate commerce;

                     •   2. with the intent to injure, harass, and intimidate another person;

                         and
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                     •   3. in the course of, and as a result of, such travel place another

                         person in reasonable fear of the death of, or serious bodily injury

  18 U.S.C. § 2261A.

         The government alleges that in order to demonstrate the third prong of the

  Interstate Stalking charge the state of mind of S.A. is imperative. However, when

  analyzing evidence of prior encounters the court has often taken the nature and type of

  prior incidents into consideration when determining 404(b) probative value. Klein v.

  Vanek, 86 F. Supp. 812, 815 (N.D. Ill. 200) (noting that testimony by the victim about her

  emotional response when seeing the defendant make a gesture toward her would not be

  relevant and the any probative value would be outweighed by the unfair prejudice).

         While the government offers numerous cases including, United States v. Tuchow,

  768 F.2d 855, 866 (7th Cir. 1985) (Hobbs Act prosecution); United States v. Gigante, 729

  F.2d 78, 84 (C.A.2d 1984) (loan sharking acts admissible to show the victim’s fear of

  defendant and what happens to those who cannot pay); and U.S. v. Lester, 749 F.2d 1288,

  1300 (C.A. 9th 1984) (mob case allowing evidence that brother witnessed murder to rebut

  claim that the brother acted voluntarily), in aggregate these cases demonstrate the

  admission of evidence in cases involving extortion.

         In the alternative, the government offers U.S. v. Ivy, 929 F.2d 147, 152 (C..A. 5th,

  1991) to demonstrate that evidence of the victim’s state of mind after a kidnapping was

  admissible. However, the facts in the Ivy case vary significantly from the case at bar. In

  Ivy, the defendant shot the victim’s date and then kidnapped her. Id. at 149. The court

  held that the state of mind of both the defendant and the victim were relevant to the

  shooting incident and therefore was admissible. Id. 152. The court reasoned that the
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  shooting immediately prior to the kidnapping was important to demonstrate the victim’s

  fear and why she went with the defendant after he ordered her out of the car. Id. at 152.

         However, in the case at bar, the government’s list of alleged acts performed by

  Heredia lack any causal connection to S.A.’s state of mind. The government fails t o

  provide any alleged acts performed by Heredia immediately prior to or connected to the

  stalking charge. Instead the government proffers a list of items that may or may not have

  occurred sometime during the nine-year relationship of the S.A. and Heredia.



         WHEREFORE: The Defendant, Heredia, respectfully requests that the evidence

  not be admitted because it does not show the victim’s state of mind.



                        RESPECTFULLY SUBMITTED: s/ Arlington J. Foley
                                                   Attorney at Law


                                     Certificate of Service

         I hereby certify that on the ______ day of ____________________, 200___, I
      electronically filed the foregoing DEFENDANT, RUDOLFO HEREDIA’S
   RESPONSE IN OPPOSITION TO THE UNITED STATES’ 404(B) NOTICE OF
   BAD ACTS EVIDENCE with the Clerk of the Court using the CM/ECF system which
                      sent notification of such filing to the following:

                                        Philip Benson

                                     S/Arlington J. Foley
                                       Attorney at Law
